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           9     Dr. Michael A. Kelsh, and Exponent, Inc.
         10

         11                                    UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
         12

         13      In re Application of:                            CASE NO. 11-mc-80171-CRB (NC)

         14      REPUBLIC OF ECUADOR and DR. DIEGO                DECLARATION OF ENRIQUE A.
                 GARCIA CARRION, the Attorney General of          MONAGAS IN SUPPORT OF CHEVRON
         15      the Republic of Ecuador,                         CORPORATION, DR. MICHAEL A.
                                                                  KELSH, AND EXPONENT, INC.’S MOTION
         16                              Applicants,              FOR A TEMPORARY STAY OF THIS
                                                                  COURT’S MARCH 9, 2012 ORDER
         17      For the Issuance of a Subpoena Under 28 U.S.C.   PENDING REVIEW PURSUANT TO FED.
                 § 1782 to Dr. MICHAEL A. KELSH for the           R. CIV. P. 72 AND, IF NECESSARY,
         18      Taking of a Deposition and the Production of     APPELLATE REVIEW; OR, IN THE
                 Documents in a Foreign Proceeding,               ALTERNATIVE, MOTION FOR
         19                                                       PROTECTIVE ORDER
                                         Respondent,
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                 CHEVRON CORPORATION,
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                                         Intervenor.
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Gibson, Dunn &
Crutcher LLP
         30          11-mc-80171-CRB     DECLARATION OF ENRIQUE A. MONAGAS IN SUPPORT OF MOTION TO STAY

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           1            I, Enrique A. Monagas, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746,

           2     that the following is true and correct:

           3            1.      I am an attorney licensed to practice law in the State of California. I am an attorney at

           4     the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for Chevron Corporation,

           5     Dr. Michael A. Kelsh, and Exponent, Inc. (together, “Respondents”) in the above-captioned matter.

           6     I make this declaration based on personal knowledge in support of Respondents’ Motion for a

           7     Temporary Stay of this Court’s March 9, 2012 Order. If called as a witness, I could and would testify

           8     as stated herein.

           9            2.      On March 21, 2012, I notified opposing counsel of when and where this motion for a

         10      stay would be made, and the nature of relief sought. Opposing counsel stated that the ROE intends to

         11      oppose this motion. I also notified opposing counsel of the alternative motion for a protective order.

         12      Opposing counsel did not agree to the terms of the protective order we proposed.

         13             3.      Attached hereto as Exhibit 1 is a true and correct copy of a letter dated March 9, 2012,

         14      submitted by the Republic of Ecuador to the Bilateral Investment Treaty arbitration.

         15             4.      Attached hereto as Exhibit 2 is a true and correct copy of a press release dated

         16      December 21, 2011 and published on PR Newswire at http://www.prnewswire.com/news-

         17      releases/newchevron-fraud-in-ecuador-as-company-used-secret-lab-to-hide-dirty-soil-samplesfrom-

         18      court-say-documents--the-amazon-defense-coalition-136031223.html.

         19             5.      Attached hereto as Exhibit 3 is a true and correct copy of a press release dated

         20      December 29, 2011 and published on PR Newswire at

         21      http://www.prnewswire.com/newsreleases/amazon-defense-coalition-chevron-used-two-prominent-

         22      us-professors-to-defraudecuador-court-documents-reveal-136392358.html.

         23             I declare under penalty of perjury that the foregoing is true and correct. Executed on this

         24      22nd day of March, 2012, in San Francisco, California.

         25
                                                              /s/ Enrique A. Monagas
         26                                                      Enrique A. Monagas
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Gibson, Dunn &
Crutcher LLP                                                        1
         30          11-mc-80171-CRB     DECLARATION OF ENRIQUE A. MONAGAS IN SUPPORT OF MOTION TO STAY

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           1                      ATTESTATION PURSUANT TO GENERAL ORDER NO. 45

           2            Pursuant to General Order No. 45 of the Northern District of California, I attest that

           3     concurrence in the filing of the document has been obtained from each of the other signatories to this

           4     document.

           5                                                  By:   /s/Ethan D. Dettmer
                                                                       Ethan D. Dettmer
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Gibson, Dunn &
Crutcher LLP                                                        2
         30          11-mc-80171-CRB   DECLARATION OF ENRIQUE A. MONAGAS IN SUPPORT OF MOTION TO STAY

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